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 9   UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,              No. 2:20-CR-00322-ODW

13             Plaintiff,                   STIPULATION AND JOINT REQUEST FOR
                                            PROTECTIVE ORDER LIMITING
14             v.                           DISCLOSURE OF SENSITIVE
                                            INFORMATION
15   RAMON OLORUNWA ABBAS,
       aka “Ray Hushpuppi,”
16     aka “Hush,”

17             Defendant.

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19        Plaintiff, United States of America, by and through its counsel

20   of record, the Acting United States Attorney for the Central

21   District of California and Assistant United States Attorney Anil J.

22   Antony, and defendant RAMON OLORUNWA ABBAS (“defendant”), by and

23   through his counsel of record, Louis J. Shapiro (collectively the

24   “parties”), for the reasons set forth below, hereby stipulate,

25   agree, and request that the Court enter a Protective Order in this

26   case.

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 1   The bases for this stipulation and request are the following:

 2        1.    On July 29, 2020, the United States Attorney filed an

 3   Information charging defendant with violations of 18 U.S.C.

 4   §§ 1956(h) (Conspiracy to Engage in Money Laundering); 1349

 5   (Conspiracy to Commit Wire Fraud); 1956(a)(2)(B)(i) (International

 6   Money Laundering); and 1957 (Engaging in Monetary Transactions in

 7   Property Derived from Specified Unlawful Activity).          Defendant is

 8   detained pending trial.

 9        2.    As part of its investigation in the above-captioned case,

10   the government is in possession of documents related to the charges

11   against defendant, and seeks to provide those documents to counsel

12   for defendant (although some of the materials may exceed the scope

13   of the government’s discovery obligations).         The government’s

14   discovery productions have consisted of, and future discovery

15   productions will consist of, thousands of pages of documents, as

16   well as additional audio and video files, forensic extractions of

17   data from digital devices, and PDF and/or HTML files containing

18   documents seized from online accounts.

19        3.    Among the documents that the government intends to produce

20   to defendant are documents that contain personal identifying

21   information (“PII”) of real persons pursuant to Federal Rule of

22   Criminal Procedure Rule 16(d)(1), including personal names, dates of

23   birth, addresses, government identification numbers, financial

24   account numbers, email addresses, photographs, and other PII, as

25   well as material that may contain information within the scope of

26   the Privacy Act.    Some of this information relates to victims and

27   witnesses, while in other instances it relates to coconspirators.

28   Additionally, the government intends to produce sensitive financial

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 1   information related to victims, information related to uncharged

 2   coconspirators, and potentially sensitive information related to law

 3   enforcement investigative techniques and ongoing law enforcement

 4   investigations.    The information described in this paragraph is

 5   collectively referred to herein as “Sensitive Information.”

 6        4.    The purpose of the proposed Protective Order is to prevent

 7   the unauthorized dissemination, distribution, or use of materials

 8   containing Sensitive Information.         If this Sensitive Information is

 9   disclosed to defendant without limitation, it will risk exposure of

10   (a) the privacy and security of the information’s legitimate owners,

11   (b) sensitive victim-related information; (c) information about

12   uncharged subjects of the government’s investigation and other law

13   enforcement investigations, and (d) potentially sensitive law-

14   enforcement investigative techniques.        The government has an ongoing

15   obligation to protect victims and third parties, and also wishes to

16   protect against the dissemination of other of the information.            The

17   government thus cannot simply produce to defendant an unredacted set

18   of discovery containing Sensitive Information.

19        5.    Sensitive Information makes up a significant part of the

20   discovery in this case.     Sensitive Information is interspersed

21   throughout the discovery in this case, and the Sensitive Information

22   itself, in many instances, has evidentiary value.          To redact this

23   information by hand would be prohibitively time consuming and,

24   significantly, may also prevent defense counsel from effectively

25   reviewing relevant material in the documents containing Sensitive

26   Information.   Additionally, if the government were to attempt to

27   redact all this information in strict compliance with Federal Rule

28   of Criminal Procedure 49.1, the Central District of California’s

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 1   Local Rules regarding redaction, and the Privacy Policy of the

 2   United States Judicial Conference, the defense would receive a set

 3   of discovery that would be highly confusing and difficult to

 4   understand, and defense counsel would not be able to adequately

 5   evaluate the case, advise his or her client, or prepare for trial.

 6        6.    The parties recognize that the materials containing

 7   Sensitive Information that the government produces to the defense

 8   pursuant to the proposed protective order are solely for the use of

 9   defendant, his attorneys, or other individuals or entities acting

10   within the attorney-client relationship to prepare for the trial in

11   this case.   Accordingly, the parties jointly request a Protective

12   Order that will permit the government to produce discovery that

13   preserves the privacy and security of victims, third parties, and

14   coconspirators, and protects the government’s interests mentioned

15   above, while placing limitations on defendant’s ability to

16   disseminate and distribute Sensitive Information.

17        7.    Therefore, the parties stipulate to the entry of the

18   Protective Order for discovery that the government will provide to

19   counsel for defendant in the above-captioned case.          The Protective

20   Order will encompass any and all discovery produced in this case —

21   that is, any written or typed documentation, electronic data, and/or

22   audio or video recordings provided to the defense team, as defined

23   below, including any paper or electronic copies of the discovery

24   produced before or after the execution of the Protective Order.

25        8.    The parties hereby stipulate that the following

26   conditions, if ordered by the Court in the proposed Protective

27   Order, will serve the above-described interests, while permitting

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 1   the defense to understand the government’s evidence against

 2   defendant:

 3              a.    The term "document" shall include written or printed

 4   matter of any kind including originals, conforming copies, and non-

 5   conforming copies (e.g., a copy of an original with an added

 6   notation).   The term "document" shall also include letters, reports,

 7   summaries, memoranda, notes, communications, telexes, cables,

 8   telecopies, telegrams, facsimiles, microfilms, reports, photographs,

 9   charts, graphs, maps, invoices, accountings, worksheets, bulletins,

10   transcripts, and messages, as well as alterations, amendments,

11   modifications and changes of any kind to the foregoing; and all

12   recordings of information on computer, magnetic, electronic, or

13   optical media such as computer hard drives, DVDs, CDs, audio or

14   video tapes, computer tapes or discs, microfiche, films, and all

15   manner of electronic data processing storage.

16              b.    The term "Protected Discovery" shall mean the

17   Sensitive Information contained in such documents that are produced

18   to defendant and/or defense counsel by the government in discovery

19   in this case.

20              c.    The government may mark discovery produced subject to

21   the Protective Order as “SUBJECT TO PROTECTIVE ORDER,” although such

22   a mark is not necessary to bring materials under the protections of

23   the Protective Order.

24              d.    For purposes of the Protective Order, the term

25   “defense team” refers to (1) defendant, (2) defendant’s counsel of

26   record, (3) other attorneys at defense counsel’s law firm who may be

27   consulted regarding case strategy in the above-captioned matter,

28   (4) defense investigators who are assisting defense counsel with

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 1   this case, (5) retained experts or potential experts, and

 2   (6) paralegals, legal assistants, and other support staff to

 3   defendant’s counsel of record providing assistance on this case --

 4   all of whom shall be advised by undersigned defense counsel of their

 5   obligations under the Protective Order and must affirm to

 6   undersigned defense counsel that they agree to be bound by the terms

 7   of the Protective Order prior to being granted access to Protected

 8   Discovery.    The term “defense team” does not include family members

 9   or any other associates of defendant.

10               e.   The defense team shall not permit anyone who is not a

11   member of the defense team to retain in his or her possession any

12   Protected Discovery.

13               f.   The defense team shall access and use Protected

14   Discovery for the sole purpose of preparing for trial or any related

15   proceedings in the above-captioned criminal matter, including any

16   appeal and any motion filed by defendant pursuant to 28 U.S.C. §

17   2255, and for no other purpose.

18               g.   The defense team may review Protected Discovery with

19   witnesses or witnesses’ counsel in this case.         Before being shown

20   any portion of the Protected Discovery, however, any witness or

21   witness’ counsel must be informed of, and agree to be bound by, the

22   requirements of the Protective Order.        No witness or witness’

23   counsel may retain the Protected Discovery, or any copy thereof,

24   after his or her review of those materials with the defense team is

25   complete.

26               h.   The undersigned counsel of record for defendant

27   shall, as the defense team's custodian of the Protected Discovery,

28   keep a list of witnesses who have agreed to be bound by the terms of

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 1   this Protective Order, which list may be disclosed to the Court in

 2   the event that the Court is asked to determine whether a possible

 3   breach of the Protective Order has occurred.

 4              i.    The defense team shall maintain the Protected

 5   Discovery safely and securely, and shall exercise reasonable care in

 6   ensuring the confidentiality of those materials.

 7              j.    To the extent that notes are made that memorialize,

 8   in whole or in part, the contents of any Protected Discovery, or to

 9   the extent that copies are made for authorized use by members of the

10   defense team, such notes, copies, or reproductions become Protected

11   Discovery and must be handled in accordance with the terms of the

12   Protective Order.

13              k.    In the event that a party needs to file Protected

14   Discovery with the Court or divulge the contents of such materials

15   in court filings, the filing should be made under seal, unless the

16   parties agree in writing that the specific document or documents may

17   be filed in the public record.      If the Court rejects the request to

18   file such information under seal, the party seeking to file such

19   information shall provide advance written notice to the other party

20   to afford such party an opportunity to object or otherwise respond

21   to such intention before the filing.       If the other party does not

22   object to the proposed filing, the party seeking to file such

23   information shall redact the Sensitive Information and make all

24   reasonable attempts to limit the divulging of Sensitive Information.

25              l.    Upon the final disposition of this case, the

26   Protected Discovery shall not be used, in any way, in any other

27   matter, absent a court order.      All Protected Discovery maintained in

28   the defense team’s files shall remain subject to the Protective

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 1   Order unless and until such order is modified by court order.

 2   Within thirty days of the conclusion of appellate and post-

 3   conviction proceedings, the defense team shall return the Protected

 4   Discovery, certify that such materials have been destroyed, or

 5   certify that such materials are being kept by defense counsel

 6   pursuant to the Business and Professions Code and the Rules of

 7   Professional Conduct.

 8              m.    In the event that there is a substitution of counsel

 9   prior to when such documents must be returned, new defense counsel

10   must sign this Protective Order before any Protected Discovery may

11   be transferred from the undersigned defense counsel to the new

12   defense counsel, who then will become the defense team’s custodian

13   of the Protected Discovery and who shall then become responsible,

14   upon the conclusion of appellate and post-conviction proceedings,

15   for returning to the government, certifying the destruction of, or

16   certifying the retention pursuant to the Business and Professions

17   Code and the Rules of Professional Conduct of all Protected

18   Discovery.

19              n.    The parties may modify the definition of Sensitive

20   Information by stipulation.

21        7.    Defense counsel has conferred with defendant regarding

22   this stipulation and the proposed Protective Order, and defendant

23   agrees to the terms of the proposed Protective Order.

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 1        8.    Accordingly, the parties have agreed to request that the

 2   Court enter a Protective Order in the form submitted herewith.

 3        IT IS SO STIPULATED.

 4        DATED: February 26, 2021             TRACY L. WILKISON
                                               Acting United States Attorney
 5
                                               CHRISTOPHER D. GRIGG
 6
                                               Assistant United States Attorney
 7                                             Chief, National Security Division

 8
                                               __/s/__________________________
 9                                             ANIL J. ANTONY
                                               Assistant United States Attorney
10

11                                             Attorneys for Plaintiff
                                               UNITED STATES OF AMERICA
12

13
          DATED: February 25, 2021               /s/ (with email authorization)
14                                             LOUIS J. SHAPIRO
15                                             Attorney for Defendant
                                               RAMON OLORUNWA ABBAS
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